 

Case 2:13-cV-02434-STA-dl<v Document 1-1 Filed 06/17/13 Page 1 of 1 PagelD 4
EEoc Form 161 (11/09) U.S. EQUAL EMPLOYMENT oPPORTUN|TY COMM|SS|ON

 

DllessAL AND NoTlcE oF RlGHTs

 

 

T°I Terry J. Garrett Ff°mf Memphis District Office
1355 Decatur Street 1407 Union Avenue
Memphis, TN 38107 Suite 901
Memphis, TN 38104
l:| On behalf of person(s) aggrieved whose identity is
CONF/DENT/AL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Te|ephone No.
Terry Lewis,
490-2013-00190 investigator (901) 544-0121

 

THE EEOC lS CLOS|NG |TS F|LE ON THlS CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not'timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to tile your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.¢

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Other (bn`efly state)

- NOT|CE OF SUIT R|GHTS -

(See the additional information attached to this fonn.)

Title V|l, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WlTl-llN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equa! Pay Act (EPA): EPA suits must be filed in federal cr state court within 2 years (3 years for wil!ful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years 13 years)
before you file suit may not be collectib|e.

On behalf oft Commlssion

 

 

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E“°'°S“'es($> 0 KathUine w.\r'<ores, ' (Dare Mai/ed)
Director
°°: Craig Brown
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